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    Counsel for Defendant-Intervenors American Gas Association, American
  Petroleum Institute, American Public Gas Association, Association of Oil Pipe
           Lines, and Interstate Natural Gas Association of America

               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION
CENTER FOR BIOLOGICAL                      Case No. CV-21-47-GF-BMM
DIVERSITY, SIERRA CLUB,
MONTANA ENVIRONMENTAL
INFORMATION CENTER, FRIENDS
OF THE EARTH, and
WATERKEEPER ALLIANCE, INC.,                NWP 12 COALITION’S
              Plaintiffs,                  UNOPPOSED MOTION TO
                   v.                      APPEAR BY VIDEO
                                           CONFERENCE OR TELEPHONE
LIEUTENANT GENERAL SCOTT A.
                                           FOR THE JUNE 9, 2022 MOTION
SPELLMON, in his official capacity,
                                           HEARING
and U.S. ARMY CORPS OF
ENGINEERS,
                 Defendants,
STATE OF MONTANA,
            Defendant-Intervenor,
                 and
AMERICAN GAS ASSOCIATION, et
al.,
           Defendant-Intervenors.
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      Defendant-Intervenors American Gas Association, American Petroleum

Institute, American Public Gas Association, Association of Oil Pipe Lines, and

Interstate Natural Gas Association of America (collectively, “the NWP 12

Coalition”) respectfully move this Court for leave to allow Karma Brown, counsel

for the NWP 12 Coalition, to appear for the hearing on June 9, 2022 by video

conference or, in the alternative, telephone.

      Plaintiffs, the Federal Defendants, and Defendant-Intervenor the State of

Montana do not oppose this motion. In support of this motion, the NWP 12

Coalition states as follows:

      1.     On June 3, 2022, this Court issued an Order resetting the hearing on

the pending cross-motions for summary judgment (Docs. 44, 61, 66) from June 6,

2022, to June 9, 2022, at 2:30 p.m. in Great Falls, Montana. (Doc 86).

      2.     Ms. Brown is based in Washington, D.C. Her daughter has a local

graduation ceremony on Wednesday, June 8, and Ms. Brown will be unable to

travel to Montana by June 9, to attend the hearing in person.

      3.     Deidre Duncan, co-counsel for the NWP 12 Coalition, also based in

Washington, D.C., will be unable to attend the hearing because her daughter has a

local graduation ceremony on Thursday, June 9.

      4.     Brianne McClafferty, co-counsel for the NWP 12 Coalition, will

attend the hearing in person.



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      5.     Local Rule 7.1(e) allows argument by video conference or telephone.

      6.     Counsel for the Coalition can coordinate with the office of the Clerk

of Court for the District of Montana to set up the remote appearance.

      7.     Counsel for the Coalition conferred with counsel for the other parties

by email on June 3 and June 6, 2022. Plaintiffs, Federal Defendants, and the State

of Montana do not oppose this motion.



      Therefore, the Coalition respectfully requests that the Court enter an order

granting this motion and allowing Ms. Brown to appear via video conference or

telephone for the hearing scheduled for June 9, 2022. A proposed order is attached

to this motion and will be emailed to the Court.




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Date: June 6, 2022                   Respectfully submitted,


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                                     Lines, and Interstate Natural Gas
                                     Association of America




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                          CERTIFICATE OF SERVICE

      I hereby certify that on June 6, 2022, I filed the above NWP 12 Coalition’s

Unopposed Motion to Appear by Video Conference or Telephone for the June 9,

2022 Motion Hearing with the Court’s electronic case management system, which

caused notice to be sent to all parties.

                                           /s/ Karma B. Brown




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